            Case 1:17-cv-02989-AT Document 1360-1 Filed 04/06/22 Page 1 of 1
                                                   Wednesday, March 30, 2022 at 00:01:59 Eastern Daylight Time


Subject:    Coali&on's request for missing discovery ﬁles
Date:       Tuesday, March 22, 2022 at 8:42:26 PM Eastern Daylight Time
From:       Robert McGuire
To:         btyson@taylorenglish.com, Vincent Russo
CC:         Josh Belinfante, Bruce Brown, Cary Ichter, David D. Cross - Morrison & Foerster LLP
            (dcross@mofo.com), Marilyn Marks, Jill Connors
AGachments: MINUTES_2nd Hearing 30_Dec_2020 clean.pdf

Bryan,

The State Defendants’ production of Election Project Files did not include Coffee County
for either the November 2020 or the January 2021 elections.

Given that the Secretary conducted investigations of the Coffee County elections, it seems
logical that the files would have been obtained by his office. Accordingly, please ask your
client to search their records and produce the Election Project Files for those two
elections. Please let us know your findings after this renewed search.

Additionally, in the attached minutes from the December 30, 2020, Senate Judiciary
Committee meeting, please note that, on page 3, Ms. Latham says that she sent Gabe
Sterling messages regarding the alleged problems in Coffee ballot processing. Please
produce those emails and all related communications and documents.

Also in the video interview in this link, (https://www.facebook.com/watch/live/?
ref=watch_permalink&v=478684253122594), Ms. Latham says at approximate time
stamps 2:33 and 2:42 that she text messaged Secretary Raffensperger about problems in
Coffee County. Please produce those communications and related documents and
messages.

The foregoing documents referenced should certainly have been included in the
production in response to Plaintiffs’ discovery requests, or in supplemental productions,
however we have not found these documents. Please provide them as soon as possible.

Thank you.

Best,
Robert McGuire
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